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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

                                       Case No. 0:12-cv-61826-WJZ

   MATTHEW BENZION, individually and on
   behalf of others similarly situated,

                         Plaintiff,

          v.

   VIVINT, INC., a Utah corporation,                     CLASS ACTION

                          Defendant.                     JURY TRIAL DEMANDED
                                                     /

                                SECOND AMENDED COMPLAINT

          1.      Plaintiff Matthew Benzion brings this action against Defendant Vivint, Inc. to

   secure redress for violations of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §

   227.

          2.      Specifically, Plaintiff brings claims against Defendant pursuant to 47 U.S.C. §

   227(b), for causing unsolicited calls to be made to the cell phones of Plaintiff and others using an

   automatic telephone dialing system and/or artificial or prerecorded voice.

          3.      Plaintiff Benzion also brings claims on behalf of himself and others for violations

   of the TCPA’s company-specific and National Do Not Call Registry do-not-call prohibitions. 47

   C.F.R. § 64.1200(c)(2); 47 C.F.R. § 64.1200(d)(3); 47 U.S.C. § 227(c)(5).

                                      JURISDICTION AND VENUE

          4.      The Court has federal question jurisdiction over this action pursuant to 28 U.S.C.

   § 1331. Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 747 (2012). The Court further has

   subject matter jurisdiction over this action pursuant to the Class Action Fairness Act (“CAFA”),
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   28 U.S.C. § 1332(d), because (i) at least one member of the putative class is a citizen of a state

   different from Defendant, (ii) the amount in controversy exceeds $5,000,000, exclusive of

   interest and costs, and (iii) none of the exceptions under that section apply to this action.

          5.      This Court has personal jurisdiction over Defendant and venue is proper because:

   (1) Defendant does business in this District, and (2) a substantial part of the events giving rise to

   Plaintiff’s claims occurred here, including the unwanted calls that Defendant caused to be made

   to Plaintiff Benzion’s cellular telephone using an automatic telephone dialing system and/or pre-

   recorded voice.

                                                PARTIES

          6.      Plaintiff Matthew Benzion is a natural person and resident of Broward County,

   Florida.

          7.      Defendant Vivint, Inc. (“Vivint”) is a Utah corporation with its principal place of

   business at 4931 North 300 West, Provo, Utah 84604. Vivint provides home security and other

   services nationwide, including within this District.

                                                 FACTS

          8.      Defendant is a home automation company that provides and markets home

   security products and services, among other things.

          9.      Within the four years prior to the filing of this action, Defendant—whether

   directly, through affiliate marketers, or otherwise—used equipment to dial the cellular telephone

   numbers of potential customers, including Plaintiff. On information and belief, the dialing

   equipment used had the capacity to dial numbers without human intervention.

          10.     Many if not all of these calls also utilized artificial and/or prerecorded voice

   messages to market Vivint’s home security products and services.



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          11.     Unfortunately, many of the people whose cell phones were called as a result of

   Defendant’s telemarketing practices never actually consented to receive such calls, and many

   numbers were also called despite direct requests to stop and/or registration with the National Do

   Not Call Registry.

          12.     These are unsolicited “cold calls” made for the purpose of generating leads for

   sales of Defendant’s products and/or services. On information and belief, many of the

   individuals targeted by Vivint and its lead generators were called more than once.

          13.     Attached are consumer telemarketing complaints about Vivint that Plaintiff has

   received through a Freedom of Information Act request to the Federal Communications

   Commission. Many of these consumers’ complaints are similar to the Plaintiff’s story: They

   received multiple prerecorded message calls from Vivint, and Vivint failed to honor the National

   Do Not Call Registry or even direct requests that the calls stop. (Consumer Complaints, attached

   hereto as Exhibit 1.)

                              THE LEGAL BASIS OF THE CLAIMS

          14.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

   telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing . . .

   can be an intrusive invasion of privacy . . . .” Telephone Consumer Protection Act of 1991, Pub.

   L. No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227). Specifically, in enacting the TCPA,

   Congress outlawed telemarketing via unsolicited automated or pre-recorded telephone calls

   (“Robocalls”), finding:

                  Evidence compiled by the Congress indicates that residential
                  telephone subscribers consider automated or prerecorded telephone
                  calls, regardless of the content or the initiator of the message, to be
                  a nuisance and an invasion of privacy.
                  ....



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                   Banning such automated or prerecorded telephone calls to the
                   home, except when the receiving party consents to receiving the
                   call . . . , is the only effective means of protecting telephone
                   consumers from this nuisance and privacy invasion.

            Id. § 2(10) and (12); Mims v. Arrow Financial Services, Inc., 132 S.Ct. 740 (Jan. 18,

   2012).

            15.    Under the TCPA, as interpreted by the FCC, a person or entity can be liable for

   calls made on its behalf even if that person or entity did not directly dial those calls.

            16.    The FCC has explained that its “rules generally establish that the party on whose

   behalf a solicitation is made bears ultimate responsibility for any violations.” See Rules and

   Regulations Implementing the Telephone Consumer Protection Act of 1991, Memorandum and

   Order, 10 FCC Rcd. 12391, 12397, ¶ 13 (1995).

            17.    In 2008, the FCC reiterated that “a company on whose behalf a telephone

   solicitation is made bears the responsibility for any violations.” See Rules and Regulations

   Implementing the Telephone Consumer Protection Act of 1991 Request of ACA International for

   Clarification and Declaratory Ruling, CG 02-278, 23 F.C.C.R. 559 at ¶10 (Jan. 4, 2008)

   (specifically recognizing “on behalf of” liability in the context of a Robocall sent to a consumer

   by a third party on another entity’s behalf under 47 U.S.C. 227(b)).

            18.    In May of 2013, the FCC reinforced this issue. See In re Rules and Regulations

   Implementing the Tel. Consumer Prot. Act of 1991, --- FCC Rcd. --- (F.C.C. May 9, 2013)

   (hereinafter “2013 FCC Ruling Order”) (clarifying that “a seller … may be vicariously liable

   under federal common law agency-related principles for violations of either section 227(b) or

   227(c) committed by telemarketers that initiate calls to market its products or services.”). The

   FCC rejected a narrow view of TCPA liability, including the assertion that a seller’s liability




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   requires a finding of formal agency and immediate direction and control over the third-party who

   placed the telemarketing call. Id. n.107.

      19. The 2013 FCC Order further explained:

                  To provide guidance in this area, we find that the following are illustrative
                  examples of evidence that may demonstrate that the telemarketer is the
                  seller’s authorized representative with apparent authority to make the
                  seller vicariously liable for the telemarketer’s section 227(b) violations.
                  For example, apparent authority may be supported by evidence that the
                  seller allows the outside sales entity access to information and systems
                  that normally would be within the seller’s exclusive control, including:
                  access to detailed information regarding the nature and pricing of the
                  seller’s products and services or to the seller’s customer information. The
                  ability by the outside sales entity to enter consumer information into the
                  seller’s sales or customer systems, as well as the authority to use the
                  seller’s trade name, trademark and service mark may also be relevant. It
                  may also be persuasive that the seller approved, wrote or reviewed the
                  outside entity’s telemarketing scripts. Finally, a seller would be
                  responsible under the TCPA for the unauthorized conduct of a third-party
                  telemarketer that is otherwise authorized to market on the seller’s behalf if
                  the seller knew (or reasonably should have known) that the telemarketer
                  was violating the TCPA on the seller’s behalf and the seller failed to take
                  effective steps within its power to force the telemarketer to cease that
                  conduct. At a minimum, evidence of these kinds of relationships – which
                  consumers may acquire through discovery, if they are not independently
                  privy to such information – should be sufficient to place upon the seller
                  the burden of demonstrating that a reasonable consumer would not
                  sensibly assume that the telemarketer was acting as the seller’s authorized
                  agent.

                  [ ] In sum, under our current rules and administrative precedent
                  interpreting and implementing sections 227(b) and 227(c), we do not
                  think that an action taken for the benefit of a seller by a third-party
                  retailer, without more, is sufficient to trigger the liability of a seller under
                  section either section 227(c) or section 227(b). However, we see no reason
                  that a seller should not be liable under those provisions for calls made by a
                  third-party telemarketer when it has authorized that telemarketer to market
                  its goods or services. In that circumstance, the seller has the ability,
                  through its authorization, to oversee the conduct of its telemarketers, even
                  if that power to supervise is unexercised. In the case of either actions to
                  enforce section 227(b) or actions to enforce do-not-call restrictions under
                  section 227(c), we stress that nothing in this order requires a consumer to
                  provide proof – at the time it files its complaint – that the seller should be
                  held vicariously liable for the offending call.

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   Id. at ¶¶ 46-47).

                          The TCPA prohibits telemarketing calls to persons
                  and entities whose numbers are listed on the Do Not Call Registry,
                         unless the caller has the recipient’s written consent

           20.     In 1995, under its authority to adopt rules prohibiting abusive and deceptive

   telemarketing acts or practices pursuant to the Telemarketing Act, 15 U.S.C. §§ 6101-6108, the

   FTC adopted the Telemarketing Sales Rule (“TSR”), 16 C.F.R. § 310, which was later amended

   in 2003. Among other things, the amended TSR established the national Do Not Call Registry, a

   federally-maintained listing of persons who do not wish to receive telephone solicitations. See

   47 C.F.R. § 64.1200(c)(2). A listing on the Registry “must be honored indefinitely, or until the

   registration is cancelled by the consumer or the telephone number is removed by the database

   administrator.” Id.

           21.     The TCPA and its implementing regulations prohibit persons and entities from

   initiating telephone solicitations to residential telephone subscribers to the Registry. 47 U.S.C. §

   227(c); 47 C.F.R. § 64.1200(c)(2). A person whose number is on the Registry, and who has

   received more than one telephone call within any twelve-month period by or on behalf of the

   same entity in violation of the TCPA, can sue the violator and seek statutory damages. 47 U.S.C.

   § 227(c)(5).

           22.     The regulations contain a safe harbor provision that exempts from liability a

   person or entity making telephone solicitations who has obtained the subscriber’s prior express

   invitation or permission to make the call. 47 C.F.R. § 64.1200(c)(2)(ii).

           23.     The required prior express invitation or permission must be evidenced by a

   signed, written agreement between the consumer and seller that states the consumer agrees to be




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   contacted by this seller, and includes the telephone number to which the calls may be placed. Id.

   § 64.1200(c)(2)(ii).

                                     The TCPA bans all autodialer
                                      calls placed to cell phones

             24.   The TCPA’s most stringent restrictions pertain to computer-generated

   telemarketing calls placed to cell phones.

             25.   The TCPA categorically bans persons and entities from initiating a telephone call

   using an automated telephone dialing system (or “autodialer”) to any telephone number assigned

   to a cellular telephone service. See 47 C.F.R. § 64.1200(a)(1)(iii); see also 47 U.S.C. §

   227(b)(1).

                          FACTS RELATING TO PLAINTIFF BENZION

             26.   Starting in or about March 2012 and likely even earlier, Plaintiff Benzion

   received calls to his cell phone—sometimes multiple times a day—using prerecorded voice

   messages to advertising a “free” wireless security system in exchange for putting the company’s

   sign in his yard.

             27.   These calls came from various numbers, including but not limited to (503) 563-

   0357, (503) 902-8127, and (503) 902-8279.

             28.   After answering one of these calls from (503) 902-8279 on or about April 9, 2012,

   Plaintiff Benzion went through the call’s process to speak with a live representative, who

   informed Plaintiff that he was promoting Vivint.

             29.   Upon information and belief, this statement is true: The call was made by Vivint,

   in order to promote its goods and services. Alternatively, the calls were made on behalf of

   Vivint.




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          30.     As evidenced by, among other things, the large volume of calls and their use of

   prerecorded voice messages, many if not all of these calls from or on behalf of Defendant were

   made using an automatic telephone dialing system, equipment having the capacity to dial

   Plaintiff’s number without human intervention. On information and belief, no human being

   pressed the digits of Plaintiff’s cellular telephone number into a phone to make any call to

   Plaintiff. On further information and belief, at least some of Vivint’s lead generation

   telemarketing calls were made using an automatic telephone dialing system service provided by

   Five9, Inc.

          31.     Plaintiff Benzion received calls on at least the following dates: April 4, 2012,

   April 5, 2012, April 9, 2012, April 10, 2012, April 13, 2012, April 17, 2012, April 18, 2012, and

   April 25, 2012. Discovery from Defendant or third parties that work with Defendant to promote

   its goods and services will almost certainly show that there were more calls.

          32.     Plaintiff has never given Defendant permission to contact his cell phone, whether

   through the use of an automatic telephone dialing system, prerecorded or artificial voice, or

   otherwise. Plaintiff’s number was registered with the National Do-Not-Call Registry on April

   14, 2012.

          33.     Plaintiff at least twice demanded that the calls cease.

          34.     During one call in April 2012, the prerecorded voice message Defendant played

   prompted Plaintiff to press a certain number to be removed from the call list. Plaintiff pressed

   that number, but received calls thereafter. This had no effect in stopping Defendant’s calls to

   Plaintiff’s cell phone; Defendant continued to call Plaintiff’s cell phone via an autodialer and/or

   using prerecorded voice messages.




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          35.       Furthermore, on or about April 9, 2012, Plaintiff spoke with a Vivint

   representative directly and demanded that the calls cease.

          36.       On information and belief, Plaintiff’s cell phone was also called at least twice

   after being registered with the National Do Not Call Registry, including on or about May 21,

   2012 and May 22, 2012, from number (503) 457-1074.

          37.       Plaintiff was damaged by Defendant’s calls. His privacy was wrongfully invaded,

   and Plaintiff has become understandably aggravated with having to deal with the frustration of

   repeated, unwanted phone calls forcing him to divert attention away from his work and other

   activities, especially given Defendant’s complete disregard of his requests to cease and the

   registration of his number with the National Do Not Call Registry.

                      VIVINT’S USE OF THIRD PARTY TELEMARKETERS

          38.       In order to generate customers, Vivint engages in marketing through the use of

   telephones, both directly and through use of “lead generators,” as well as third party

   telemarketers.

          39.       Vivint has controlled and has had the contractual right to control the third party

   telemarketers.

          40.       As Vivint utilizes third party marketers to sell its exclusive products, it grants

   these entities access to information and systems that normally would be within Vivint’s

   exclusive control, including access to detailed information regarding the nature and pricing of

   Vivint’s alarm systems and protection plans.

          41.       Vivint’s third party marketers also have the ability to enter consumer information

   into the seller’s lead, sales and customer systems, despite the fact that payments made for those

   services are made directly to Vivint.



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          42.     Vivint’s third party marketers also have the ability to use the seller’s trade name,

   trademark and service mark.

          43.     Vivint works with its third party marketers on developing a script for use in the

   telemarketing of its products.

          44.     Vivint has been receiving complaints about calls from this lead generator and has

   failed to take adequate steps to have such conduct cease. Indeed, the Plaintiff herself put Vivint

   on notice that he was receiving these calls before the Plaintiff received more calls from same

   company.

          45.     Vivint’s use of third party telemarketers is in conjunction with their own

   marketing department, which attempts to complete the sale on the same telephone call that was

   made by the third party telemarketer, as it occurred on the call to the Plaintiff.

          46.     Vivint failed to take steps to ensure that the entities that it used to promote its

   goods or services were complying with federal telemarketing law.

                                              COUNT I
                             Violations of the TCPA, 47 U.S.C. § 227(b)
                         (On Behalf of Plaintiff and the Section 227(b) Class)

          47.     Plaintiff realleges and incorporates the foregoing allegations as if fully set forth

   herein. Plaintiff brings this Count I on behalf of himself and the Section 227(b) Class defined

   below, only.

          48.     It is a violation of the TCPA to make “any call (other than a call made for

   emergency purposes or made with the prior express consent of the called party) using any

   automatic telephone dialing system or an artificial or prerecorded voice … to any telephone

   number assigned to a … cellular telephone service….” 47 U.S.C. § 227(b)(1)(A)(iii).




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          49.     “Automatic telephone dialing system” refers to any equipment that has the

   “capacity to dial numbers without human intervention.” See, e.g., Hicks v. Client Servs., Inc.,

   No. 07-61822, 2009 WL 2365637, at *4 (S.D. Fla. June 9, 2009) (quoting In re Rules and

   Regulations Implementing the Tel. Consumer Prot. Act of 1991: Request of ACA Int’l for

   Clarification and Declaratory Ruling, 23 FCC Rcd 559, 566 (2007)).

          50.     Defendant used equipment having the capacity to dial numbers without human

   intervention to make non-emergency telephone calls to the cellular telephones of Plaintiff and

   the other members of the Section 227(b) Class defined below. Many of these calls, including

   calls to Plaintiff, utilized prerecorded voice messages.

          51.     These calls were made without regard to whether or not Defendant had first

   obtained the express consent of the called party to make such calls. In fact, Defendant did not

   have prior express consent to call the cell phones of Plaintiff and the other members of the

   putative Section 227(b) Class when its calls were made.

          52.     As such, Defendant’s calls were willful or, at a minimum, negligent. See 47

   U.S.C. § 312(f)(1).

          53.     Defendant has, therefore, violated Section 227(b)(1)(A)(iii) of the TCPA by using

   an automatic telephone dialing system and/or artificial or prerecorded voice to make non-

   emergency telephone calls to the cell phones of Plaintiff and the other members of the putative

   Section 227(b) Class without their prior express permission.

          54.     As a result of Defendant’s conduct and pursuant to Section 227(b)(3) of the

   TCPA, Plaintiff and the other members of the putative Section 227(b) Class were harmed and are

   each entitled to a minimum of $500.00 in damages for each violation. Plaintiff and the Class are

   also entitled to an injunction against future calls. 47 U.S.C. § 227(b)(3).



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          55.     Because Defendant knew or should have known that Plaintiff and the other

   members of the putative Section 227(b) Class had not given prior express consent to receive its

   autodialed and prerecorded voice calls to their cellular telephones—and/or willfully used an

   automatic telephone dialing system and/or prerecorded voice to call the cell phones of Plaintiff

   and the other members of the Class without prior express permission—the Court should treble

   the amount of statutory damages available to Plaintiff and the other members of the putative

   Section 227(b) Class pursuant to Section 227(b)(3) of the TCPA.

                                            Class Allegations

          56.     Plaintiff brings this case on behalf of a class (the “Section 227(b) Class”) defined

   as follows:

          All persons in the United States who, within four years prior to the filing of this
          action, Defendant or some person on Defendant’s behalf called on their cell phone
          using an artificial or prerecorded voice or device with the capacity to dial
          numbers without human intervention, where Defendant’s records fail to indicate
          prior express permission from the recipient to make such call.

          57.     Upon information and belief, Defendant called more than 100 phone numbers in

   the four years prior to the filing of this action utilizing a device with the capacity to dial numbers

   without human intervention or a message that had been recorded ahead of time, where Defendant

   did not have prior express permission for such call.

          58.     Common questions of law or fact exist as to all members of the putative Section

   227(b) Class and predominate over any questions solely affecting any individual member,

   including Plaintiff. Such questions common to the Section 227(b) Class include but are not

   limited to:




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                  a. Whether Defendant used an “automatic telephone dialing system” or

                      “artificial or prerecorded voice” as such terms are defined or understood under

                      the TCPA and applicable FCC regulations and orders;

                  b. Whether Defendant had prior express permission to contact Plaintiff and the

                      other members of the putative Section 227(b) Class when it made calls to their

                      cell phones using an automatic telephone dialing system and/or artificial or

                      prerecorded voice; and

                  c. Damages, including whether Defendant’s violations were performed willfully

                      or knowingly such that Plaintiff and the members of the putative Section

                      227(b) Class are entitled to trebled damages.

          59.     Plaintiff’s claims are typical of the claims of the other members of the putative

   Section 227(b) Class. The factual and legal bases of Defendant’s liability to Plaintiff and the

   other members of the putative Section 227(b) Class are the same: Defendant violated the TCPA

   by causing the cellular telephone number of each member of the putative Class, including

   Plaintiff, to be called using an automatic telephone dialing system and/or artificial or prerecorded

   voice without prior express permission.

          60.     Plaintiff will fairly and adequately protect the interests of the Section 227(b)

   Class. Plaintiff has no interests that might conflict with the interests of the Class. Plaintiff is

   interested in pursuing his claims vigorously, and he has retained counsel competent and

   experienced in class and complex litigation, including with regards to the claims alleged herein.

          61.     Class action treatment is superior to the alternatives for the fair and efficient

   adjudication of the controversy alleged herein. Such treatment will permit a large number of

   similarly situated persons to prosecute their common claims in a single forum simultaneously,



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   efficiently, and without the duplication of effort and expense that numerous individual action

   would entail. There are, on information and belief, thousands of members of the putative Section

   227(b) Class, such that joinder of all members is impracticable.

          62.     No difficulties are likely to be encountered in the management of this class action

   that would preclude its maintenance as a class action, and no superior alternative exists for the

   fair and efficient adjudication of this controversy.

          63.     Defendant has acted and failed to act on grounds generally applicable to Plaintiff

   and the other members of the Section 227(b) Class, thereby making relief appropriate with

   respect to the Class as a whole. Prosecution of separate actions by individual members of the

   putative Section 227(b) Class, should they even realize that their rights have been violated,

   would likely create the risk of inconsistent or varying adjudications with respect to individual

   members of the Class that would establish incompatible standards of conduct.

          64.     The identity of the Section 227(b) Class is, on information and belief, readily

   identifiable from the records of Defendant and/or any affiliated marketers.

          WHEREFORE, Plaintiff Matthew Benzion, on behalf of himself and the other members

   of the Section 227(b) Class, prays for the following relief:

                  a. A declaration that Defendant’s practices described herein violate the

                      Telephone Consumer Protection Act, 47 U.S.C. § 227;

                  b. An injunction prohibiting Defendant from using an automatic telephone

                      dialing system or artificial or prerecorded voice to call numbers assigned to

                      cellular telephones without the prior express consent of the called party;

                  c. An award of actual and statutory damages; and

                  d. Such further and other relief the Court deems reasonable and just.



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                                            COUNT II
                            Violations of the TCPA, 47 U.S.C. § 227
                  (On Behalf of Plaintiff and the Company-Specific DNC Class)

          65.     Plaintiff Benzion realleges and incorporates the foregoing allegations as if fully

   set forth herein. This Count II is brought on behalf of Plaintiff and the Company-Specific DNC

   Class defined below, only.

          66.     It is a violation of the TCPA to make a telephone solicitation to any person that

   has asked not to receive such calls. 47 C.F.R. § 64.1200(d)(3).

          67.     Telemarketers like Vivint must honor a do-not-call request immediately. In its

   July 3, 2003, Final Order implementing 47 C.F.R. § 64.1200(d)(3), the FCC explained:

          We note that the Commission’s rules require that entities must record company-
          specific do-not-call requests and place the subscriber’s telephone number on the
          do-not-call list at the time the request is made.

          Therefore, telemarketers with the capability to honor such company-specific do-
          not-call requests in less than thirty days must do so. We believe this determination
          adequately balances the privacy interests of those consumers that have requested
          not to be called with the interests of the telemarketing industry.

          Consumers expect their requests not to be called to be honored in a timely
          manner, and thirty days should be the maximum administrative time necessary for
          telemarketers to process that request.

   In re Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC Rcd

   14014, 14069-14070 (2003).

          68.     Vivint claims to be a technologically savvy company. Upon information and

   belief, that claim is true: Vivint had the capacity to cease calling immediately upon demand, but

   instead made at least two additional calls to Plaintiff and each of the Company-Specific DNC

   Class members in spite of this.

          69.     In any event, at least two of Vivint’s calls to Plaintiff and the Company-Specific

   DNC Class were made after a reasonable time had elapsed from the time of the demand to stop.

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          70.     A private right of action is available for consumers who have received more than

   one call within a twelve-month period, in violation of FCC regulations like 47 C.F.R. §

   64.1200(d)(3). 47 U.S.C. § 227(c)(5).

          71.     As a result of Defendant’s conduct and pursuant to Section 227(c)(5) of the

   TCPA, Plaintiff and the other members of the putative Company-Specific DNC Class were

   harmed and are each entitled to up to $500.00 in damages for each violation, which amount may

   be trebled if the violations are proven to have been willful or knowing. Plaintiff and the

   Company-Specific DNC Class are also entitled to an injunction against future calls. 47 U.S.C. §

   227(c)(5).

                                           Class Allegations

          72.     Plaintiff brings this Count on behalf of a class (the “Company-Specific DNC

   Class”) defined as follows:

          All persons in the United States who, within four years prior to the filing of this
          action, ongoing, Defendant or some person on Defendant’s behalf called at least
          twice in any twelve month period in order to promote Vivint goods and/or
          services, where both calls were made outside a reasonable time after a request that
          calls to the phone number stop.

          73.     Upon information and belief, based upon Plaintiff’s experience, Defendant called

   more than 100 phone numbers at least twice each in the four years prior to the filing of this

   action, where the recipient of such call had previously demanded that further calls promoting

   Defendant’s goods and/or services cease.

          74.     Common questions of law or fact exist as to all members of the putative

   Company-Specific DNC Class and predominate over any questions solely affecting any

   individual member, including Plaintiff. Such questions common to the Company-Specific DNC

   Class include but are not limited to:



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                  a. Whether Defendant had a duty to cease calling immediately once it received a

                       request for cessation, or alternatively, whether the time within which it ceased

                       calling was reasonable; and

                  b. Damages, including whether Defendant’s violations were performed willfully

                       or knowingly such that Plaintiff and the members of the putative Company-

                       Specific DNC Class are entitled to trebled damages.

          75.     Plaintiff’s claims are typical of the claims of the other members of the putative

   Company-Specific DNC Class. The factual and legal bases of Defendant’s liability to Plaintiff

   and the other members of the putative Company-Specific DNC Class are the same: Defendant

   violated the TCPA by causing telemarketing calls to be made to persons after they had requested

   not to be called.

          76.     Plaintiff will fairly and adequately protect the interests of the Company-Specific

   DNC Class. Plaintiff has no interest that might conflict with the interests of the Company-

   Specific DNC Class. Plaintiff is interested in pursuing these claims vigorously, and he has

   retained counsel competent and experienced in class and complex litigation, including with

   regards to the claims alleged herein.

          77.     Class action treatment is superior to the alternatives for the fair and efficient

   adjudication of the controversy alleged herein. Such treatment will permit a large number of

   similarly situated persons to prosecute their common claims in a single forum simultaneously,

   efficiently, and without the duplication of effort and expense that numerous individual action

   would entail. There are, on information and belief, thousands of members of the putative

   Company-Specific DNC Class, such that joinder of all members is impracticable.




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          78.     No difficulties are likely to be encountered in the management of this class action

   that would preclude its maintenance as a class action, and no superior alternative exists for the

   fair and efficient adjudication of this controversy.

          79.     Defendant has acted and failed to act on grounds generally applicable to Plaintiff

   and the other members of the Company-Specific DNC Class, thereby making relief appropriate

   with respect to the Company-Specific DNC Class as a whole. Prosecution of separate actions by

   individual members of the putative Company-Specific DNC Class, should they even realize that

   their rights have been violated, would likely create the risk of inconsistent or varying

   adjudications with respect to individual members of the Company-Specific DNC Class that

   would establish incompatible standards of conduct.

          80.     The identity of the Company-Specific DNC Class should be readily identifiable

   from the records of Defendant and/or any marketers that made calls on its behalf. If it is not, this

   may constitute a separate violation of the TCPA.

          WHEREFORE, Plaintiff Matthew Benzion, on behalf of himself and the other members

   of the Company-Specific DNC Class, prays for the following relief:

                  a. A declaration that Defendant’s practices described herein violate the

                      Telephone Consumer Protection Act, 47 U.S.C. § 227;

                  b. An injunction prohibiting Defendant from causing persons’ telephone

                      numbers to be called after requests that such calls cease;

                  c. An award of actual and statutory damages; and

                  d. Such further and other relief the Court deems reasonable and just.




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                                              COUNT III
                              Violations of the TCPA, 47 U.S.C. § 227
                     (On Behalf of Plaintiff and the National DNC Registry Class)

          81.       Plaintiff realleges and incorporates the foregoing allegations as if fully set forth

   herein. This Count III is brought against Defendant on behalf of Plaintiff and the National DNC

   Registry Class defined below.

          82.       The TCPA provides that “[n]o person or entity shall initiate any telephone

   solicitation to … [a] residential telephone subscriber who has registered his or her telephone

   number on the national do-not-call registry of persons who do not wish to receive telephone

   solicitations that is maintained by the Federal Government.” 47 C.F.R. § 64.1200(c)(2); 47

   U.S.C. § 227(c).1

          83.       Defendant or some party on its behalf initiated more than one telephone

   solicitation in a 12-month period to each of the telephone numbers of Plaintiff and the other

   members of the National DNC Registry Class, despite the fact that Plaintiff and the other

   members of the National DNC Registry Class had all registered their numbers on the National

   Do Not Call Registry of persons who do not wish to receive telephone solicitations.

          84.       Defendant has, therefore, violated Section 227(c) of the TCPA. See 47 C.F.R. §

   64.1200(c)(2).

          85.       The TCPA entitles anyone who has received more than one telephone call within

   any 12-month period by or on behalf of the same entity in violation of, among other things, 47

   C.F.R. § 64.1200(c)(2) and its prohibition against calling telephone numbers registered on the

   1
    The FCC has clarified that this prohibition applies equally with respect to cell phones. See 47
   C.F.R. § 64.1200(e) (“The rules set forth in paragraph (c) and (d) of this section are applicable to
   any person or entity making telephone solicitations or telemarketing calls to wireless telephone
   numbers to the extent described in the Commission’s Report and Order, CG Docket No. 02–278,
   FCC 03–153, ‘Rules and Regulations Implementing the Telephone Consumer Protection Act of
   1991.’”).
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   National Do Not Call Registry, to injunctive relief and the greater of either actual damages or up

   to $500 per violation. 47 U.S.C. § 227(c)(5). This amount can be trebled where the defendant

   “willfully or knowingly” violated the statute. Id.

          86.     On information and belief, including based on the experience of Plaintiff in

   receiving multiple calls from or on behalf of Defendant despite having registered with the

   National Do Not Call Registry, Defendant willfully and/or knowingly violated the TCPA, such

   that treble damages are warranted. 47 U.S.C. § 227(c)(5).

                                       Class Action Allegations

          87.     Plaintiff brings this Count on behalf of a class (the “National DNC Registry

   Class”) defined as follows:

          All persons in the United States to whose telephone number Defendant or some
          person on Defendant’s behalf initiated more than one call in any 12-month period
          within the four years prior to the filing of this action, where (1) the telephone
          number was registered on the National Do Not Call Registry, (2) the calls were
          made for the purpose of promoting Defendant’s goods and/or services, and (3)
          Defendant’s records do not contain a signed, written agreement with the person
          stating that the person agrees to be contacted at such number.

          88.     Upon information and belief, Defendant caused more than 100 telephone numbers

   to each be called more than once within any 12-month period in the four years prior to the filing

   of this action for the purpose of promoting Defendant’s goods and/or services, despite such

   numbers being registered on the National Do Not Call Registry and the lack of express, written

   permission for such calls.

          89.     Common questions of law or fact exist as to all members of the putative National

   DNC Registry Class and predominate over any questions solely affecting any individual

   member, including Plaintiff. Such questions common to the National DNC Registry Class

   include but are not limited to:



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                  a. Whether the telemarketing calls initiated by or on behalf of Defendant to the

                      telephone numbers of Plaintiff and the other members of the National DNC

                      Registry Class violated the TCPA, where such numbers were registered with

                      the National Do Not Call Registry; and

                  b. Damages, including whether Defendant’s violations were performed willfully

                      or knowingly such that Plaintiff and the other members of the National DNC

                      Registry Class are entitled to trebled damages.

          90.     Plaintiff’s claims are typical of the claims of the other members of the putative

   National DNC Registry Class. The factual and legal bases of Defendant’s liability to Plaintiff

   and the other members of the National DNC Registry Class are the same: Defendant violated the

   TCPA by initiating calls to the telephone numbers of each member of the putative Class,

   including Plaintiff, despite the fact that such persons had registered their numbers on the

   National Do Not Call Registry of persons who do not wish to receive telephone solicitations.

          91.     Plaintiff will fairly and adequately protect the interests of the National DNC

   Registry Class. Plaintiff has no interests that might conflict with the interests of the National

   DNC Registry Class. Plaintiff is interested in pursuing his claims vigorously, and has retained

   counsel competent and experienced in class and complex litigation, including with regards to the

   claims alleged herein.

          92.     Class action treatment is superior to the alternatives for the fair and efficient

   adjudication of the controversy alleged herein. Such treatment will permit a large number of

   similarly situated persons to prosecute their common claims in a single forum simultaneously,

   efficiently, and without the duplication of effort and expense that numerous individual action




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   would entail. There are, on information and belief, thousands of members of the National DNC

   Registry Class, such that joinder of all members is impracticable.

             93.   No difficulties are likely to be encountered in the management of this class action

   that would preclude its maintenance as a class action, and no superior alternative exists for the

   fair and efficient adjudication of this controversy.

             94.   Defendant has acted and failed to act on grounds generally applicable to Plaintiff

   and the other members of the National DNC Registry Class, thereby making relief appropriate

   with respect to the Class as a whole. Prosecution of separate actions by individual members of

   the National DNC Registry Class, should they even realize that their rights have been violated,

   would likely create the risk of inconsistent or varying adjudications with respect to individual

   members of the Class that would establish incompatible standards of conduct.

             95.   The identity of the National DNC Registry Class is, on information and belief,

   readily identifiable from the records of Defendant and/or any parties that made calls on its

   behalf.

             WHEREFORE, Plaintiff Matthew Benzion, on behalf of himself and the other members

   of the National DNC Registry Class, prays for the following relief:

                   a. A declaration that Defendant’s practices described herein violate the

                       Telephone Consumer Protection Act, 47 U.S.C. § 227;

                   b. An injunction prohibiting Defendant from calling telephone subscriber’s

                       numbers without such persons’ prior express written consent;

                   c. An award of actual and statutory damages; and

                   d. Such further and other relief the Court deems reasonable and just.




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                                              JURY DEMAND

            Plaintiff requests a trial by jury of all claims that can be so tried.


   Dated:      September 9, 2013                                   Respectfully submitted,

                                                                   MATTHEW BENZION, individually
                                                                   and on behalf of others similarly
                                                                   situated


                                                                   By:       /s/ Scott D. Owens
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                                                                   Counsel for Plaintiff


                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 9, 2013, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

   is being served this date via U.S. mail and/or some other authorized manner for those counsel or

   parties, if any, who are not authorized to receive electronically Notices of Electronic Filing.


                                                                 Respectfully submitted,

                                                                 s/ Scott D. Owens
                                                                 Scott D. Owens, Esq.




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